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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS



       UNITED STATES OF AMERICA


       v.                                                    Case No. 18-cr-10450



       DJAVIER DUGGINS


                  DEFENDANT’S RESPONSE TO COURT ORDER #716

       NOW COMES THE Defendant, Djavier Duggins (“Duggins”) and hereby responds to

Court Order #716, to report on his vaccination status in anticipation of a live sentencing hearing

which is scheduled to take place on January 19, 2022. Mr. Duggins reports that he is “fully-

vaccinated” receiving no less than two injections, administered at the Plymouth County House of

Corrections.

                                                             Respectfully Submitted,
                                                             DJAVIER DUGGINS
                                                             By his Attorney,

                                                             /s/ Gordon W. Spencer_____
                                                             Gordon W. Spencer, Esq.
                                                             BBO #630488
                                                             945 Concord Street
                                                             Framingham, MA 01701
                                                             (508) 231-4822
Dated: December 1, 2021


                                CERTIFICATE OF SERVICE

       I, Gordon W. Spencer, hereby certify that a true and correct copy of this document filed
through the ECF system will be sent electronically to the registered participants as identified on
the Notice of Electronic Filing (NEF) on December 1, 2021.

                                      /s/ Gordon W. Spencer
